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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: NIASPAN ANTITRUST                 MDL No. 2460
LITIGATION

                                         Master File No. 2:13-md-02460

This Document Relates To:                FILED UNDER SEAL

Direct Purchaser Actions




          DIRECT PURCHASER CLASS PLAINTIFFS’ OPPOSITION TO
          DEFENDANTS’ MOTION TO EXCLUDE THE OPINIONS AND
       PROPOSED DAMAGES TESTIMONY OF DR. JEFFREY LEITZINGER




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 DIRECT PURCHASER CLASS PLAINTIFFS’
 OPPOSITION TO DEFENDANTS’ MOTION
    TO EXCLUDE THE OPINIONS AND
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       DR. JEFFREY LEITZINGER


                FILED UNDER SEAL




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Dated: February 18, 2022                        Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2022, I caused a copy of the foregoing to be served

on counsel of record for Defendants by email.

                                                    Respectfully submitted,

                                                    /s/ David F. Sorensen
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